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AO 91 (Rev. ll/11) Criminal Complaint

                                                                                                                United States Courts
                                     UNITED STATES DISTRICT COURT                                             Southern District of Texas
                                                            for the                                                    FILED
                                                   Southern District of Texas
                                                                                                                       June 27, 2022
                  United States of America                       )                                         Nathan Ochsner, Clerk of Court
                             v.                                  )
                                                                 )     Case No.     4:22-mj-1456
                      John Troy LEWIS
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               June 13, 2022                in the county of                  Harris               in the
     Southern          District of        Texas              , the defendant(s) violated:

            Code Section                                                  Offense Description
Title 18, U.S.C. 751                         Escape from custody of the Federal Bureau of Prisons, an institution in which
                                             he was confined by process issued under the laws of the United States.




          This criminal complaint is based on these facts:
See Attached Affidavit




          if Continued on the attached sheet.

                                                                                            Complainant 's signature

                                                                             Deputy United States Marshal Moncies Bara
                                                                                             Printed name and title

Sworn to before me in accordance with the requirements of Fed. R. Crim. P. 4. 1. by telephone.


Date:             06/27/2022
                                                                                               Judge 's signature

City and state:      -------         -------
                          Houston, Texas                                    United States Magistrate Judge Christina Bryan
                                                                                             Printed name and title
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   Case 4:22-cr-00398 Document 1 Filed on 06/27/22 in TXSD Page 3 of 3



8.        I believe that probable cause exists to believe that John Troy LEWIS violated
Title 18, United States Code, Section 75l(a); Escape.




                                                      1/d�
                                                     Moncies Bara
                                                     Deputy U.S. Marshal
                                                     United States Marshal Service



Sworn to before me this 27th day of June 2022 by telephone, and I find probable cause.




                                                     Christina Bryan
                                                     United States Magistrate Judge
